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       OUTLINE OF BUREAU OF PRISONS CARE LEVELS AND EXAMPLES

There are four CARE Levels in the Bureau of Prisons (BOP) medical
CARE Level classification system. After initial designation and
provisional care level assignment by the Designation and Sentence
Computation Center (DSCC), non-provisional CARE Levels are
determined by BOP clinicians. These assignments depend on
treatment modalities and inmate functionality in addition to
diagnostic categories such as cancer, diabetes, HIV, hepatitis.

Q.   Who are CARE Level 1 inmates and who designates them?
•     Inmates are generally healthy, but may have limited medical
      needs that can be easily managed by clinician evaluations
      every six months; and
•     Inmates are less than 70 years of age.
•     CARE Level 1 designations are made by the DSCC.
•     Examples: mild asthma, diet-controlled diabetes, stable HIV
      patients not requiring medications.

Q.   Who are CARE Level 2 inmates and who designates them?
•     Inmates are stable outpatients who require clinician
      evaluation every 1 - 6 months.
•     Can be managed in chronic care clinics, including for mental
      health issues.
•     Enhanced medical resources may be required from time to
      time, but are not regularly necessary.
•     CARE Level 2 designations are made by the DSCC.
•     Examples: medication-controlled diabetes, epilepsy, or
      emphysema.

Q.   Who are CARE Level 3 inmates and who designates them?
•     Inmates are fragile outpatients who require frequent
      clinical contacts to prevent hospitalization for
      catastrophic events.
•     May require some assistance with activities of daily living,
      but do not need daily nursing care.
•     Inmate companions may be used to provide assistance.
•     Stabilization of medical or mental health conditions may
      require periodic hospitalization.
•     Examples: cancer in remission less than a year, advanced
      HIV disease, severe mental illness in remission on
      medication, severe congestive heart failure, end-stage liver
      disease.
•     Designation of CARE Level 3 inmates is made by the BOP’s
      Office of Medical Designation and Transportation in
      Washington, D.C.
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Q.   Who are CARE Level 4 inmates and who designates them?
•     Inmates require services available only at an MRC (which
      provide significantly enhanced medical services and limited
      in-patient care).
•     May need daily nursing care.
•     Functioning may be severely impaired and requires 24-hour
      skilled nursing care or nursing assistance.
•     Examples: cancer on active treatment, dialysis,
      quadriplegia, stroke or head injury patients, major surgical
      patients, acute psychiatric illness requiring inpatient
      treatment, high-risk pregnancy.
•     Designation of CARE Level 4 inmates is made by the BOP’s
      Office of Medical Designation and Transportation in
      Washington, D.C.

Q. When is the CARE Level classification process going to be
implemented?
A. It is currently in use.

Q. What can I, as a federal judge, do in the sentencing process
to assist in the designations process?
•    Until an inmate comes into the BOP and is evaluated by a
     health care provider, the Presentence Report (PSR) is the
     BOP’s principal resource for initially assessing medical
     conditions.
•    The Court can assist the BOP in this process by requesting
     that the PSR contain complete and current information
     regarding the medical and mental health status of the inmate
     (for example, new or additional information that may be
     available from the local jail or the defendant’s personal
     physician). In order to facilitate appropriate Care Level
     designation, the Court should recommend that all current
     medical information be forwarded to the BOP at the time of
     sentencing.

Q. Whom should the judges contact concerning designations for
defendants from their courts?
•    The first point of contact within the BOP for defendants who
     do not have significant medical or mental health conditions
     should be the DSCC.
